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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                               Plaintiff,             Case No. CR08-159-JLR

10         v.                                           PROPOSED FINDINGS OF FACT
                                                        AND DETERMINATION AS TO
11 GUSTAVO ROJO-MELENDREZ,                              ALLEGED VIOLATIONS OF
                                                        SUPERVISED RELEASE
12                               Defendant.

13                                            INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on November

15 21, 2011. The defendant appeared pursuant to a warrant issued in this case. The United States

16 was represented by Sarah Y. Vogel, and defendant was represented by Scott Engelhard. Also

17 present was U.S. Probation Officer Sarah Moore. The proceedings were digitally recorded.

18                                 SENTENCE AND PRIOR ACTION

19       Defendant was sentenced on December 15, 2008 by the Honorable James L Robart for

20 Possession with Intent to Distribute Cocaine. He received 19 months of detention and 3 years of

21 supervised release.

22       On July 18, 2011, the Court revoked defendant’s term of supervised release and imposed

23 two months custody along with a new two year term of supervised release which included

     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED VIOLATIONS
     OF SUPERVISED RELEASE - 1
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 1 participation in a residential reentry center (“RRC”) for up to 120 days. The revocation occurred

 2 after Mr. Rojo-Melendrez admitted to violating the terms and conditions of his supervision.

 3 Specifically, he violated by using marijuana, using cocaine, and for failing to pay towards his

 4 $100 special assessment. Defendant released from custody on August 19, 2011, and his new

 5 term of supervised release commenced. Mr. Rojo-Melendrez entered the RRC in Tacoma,

 6 Washington, the same date he released.

 7       Mr. Rojo-Melendrez’ current term of supervised release is scheduled to expire on August

 8 18, 2013.

 9                                PRESENTLY ALLEGED VIOLATIONS

10       In a petition dated November 7, 2011, U.S. Probation Officer Carol A. Chavez alleged that

11 defendant violated the following conditions of supervised release:

12       1.       Committing the crime of VUCSA-Possession of Cocaine on or about October 14,

13                2011, in violation of the mandatory condition that he not commit a federal, state, or

14                local crime.

15       2.       Failure to notify his probation officer of law enforcement contact within 72 hours,

16                in violation of standard condition #11.

17       3.       Associating with persons engaged in criminal activity on or about October 14, 201,

18                in violation of standard condition #9.

19                         FINDINGS FOLLOWING EVIDENTIARY HEARING

20       Defendant admitted the above violations, waived any hearing as to whether they occurred,

21 and was informed the matter would be set for a disposition hearing December 12, 2011 at 3:00

22 p.m. before District Judge James L. Robart.

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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED VIOLATIONS
     OF SUPERVISED RELEASE - 2
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 1                        RECOMMENDED FINDINGS AND CONCLUSIONS

 2       Based upon the foregoing, I recommend the court find that defendant has violated the

 3 conditions of his supervised release as alleged above, and conduct a disposition hearing.

 4       DATED this 21st day of November, 2011.

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                                                        BRIAN A. TSUCHIDA
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                                                        United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED VIOLATIONS
     OF SUPERVISED RELEASE - 3
